Case 1:12-cr-20157-KMM Document 180 Entered on FLSD Docket 08/21/2012 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 12-20157-CR-ROSENBAUM


  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  CECILIA CORDOBA,
  MANUEL ROWINSKY, et al.,

                         Defendants.
                                            /


                       ORDER ON DEFENDANT’S MOTION IN LIMINE

         This matter is before the Court on Defendant Cecilia Cordoba’s Corrected Motion to Strike

  Notice Concerning Expert Witnesses [D.E. 123], joined by Defendant Ramon Acosta [D.E. 148].

  The Court has reviewed Defendant’s Corrected Motion, has held an evidentiary hearing on the

  Motion and a Daubert Motion relating to one of the experts about whom the Government’s Notice

  Concerning Expert Witnesses was filed, and has likewise heard oral argument on the Corrected

  Motion. As announced during the hearing, the Government is directed to provide additional notice

  of the expert testimony it intends to present through Carlos Grillo, as instructed at the hearing and

  in this Order, but Defendant’s Corrected Motion is otherwise denied.

         On August 6, 2012, the Government filed a Disclosure of Expert Witnesses [D.E. 121], in

  which it identified Carlos Grillo as an expert regarding the functioning, dimensions, and capacity

  of the fuel system and tanks, engines, and functioning of Lear Jets, and Deborah Morrisey as an
Case 1:12-cr-20157-KMM Document 180 Entered on FLSD Docket 08/21/2012 Page 2 of 6




  expert in the area of money laundering.1 The Disclosure further contained both proposed experts’

  résumés.

            With regard to Grillo, the Disclosure revealed that he has work experience with the Federal

  Aviation Administration as an aviation safety inspector, an assistant aviation safety inspector, and

  an aviation safety inspector journeyman for a total of five years, and he has served as the chief

  inspector for a company called National Jets, Inc., for a period of approximately twelve-and-one-half

  years. D.E. 131-2 at 6. The Disclosure further specified that Grillo would testify “with respect to

  the functioning, dimensions, and capacity of the fuel system and tanks, engines, and functioning on

  Lear Jets. He will also testify to the locations within aircraft that contraband can be safely and

  discretely stored and unloaded.” D.E. 121. As for Morrisey, the Disclosure stated that she would

  testify “as to the various forms of money laundering and the manner by which individuals and groups

  of individuals launder illicit proceeds[,] [as well as] to the analysis of several accounts and

  purchases, and the detection of the defendants’ laundering of money through accounts.” D.E. 121

  at 1-2.

            In response, Defendant Cecilia Cordoba filed her Corrected Motion to Strike Notice

  Concerning Expert Witnesses [D.E. 123]. Essentially, the Corrected Motion complains that the

  Government’s expert-witness disclosure fails to comply with the requirements of Rule 16(a)(1)(G),

  Fed. R. Crim. P.

            Also in response to the Government’s filing of its Disclosure of Expert Witnesses, Defendant

  Rowinsky filed his Motion in Limine to Exclude Testimony of the Government’s Proposed Expert



            1
         A summary of the charges pending against each Defendant, as well as additional
  procedural history relating to this case, is set forth in earlier orders of this Court.

                                                    -2-
Case 1:12-cr-20157-KMM Document 180 Entered on FLSD Docket 08/21/2012 Page 3 of 6




  Witness S.A. Deborah Morrisey [D.E. 137]. The Government opposed Defendant Rowinsky’s

  Motion in Limine, setting forth additional information regarding the proposed expert testimony of

  Morrisey and Grillo. See D.E. 131. With regard to Grillo, the Government explained that he would

  testify “to locations on a Lear Jet where cocaine could be concealed, what effect if would have on

  the flight of the airplane and how those locations could be accessed [and that] . . . 300 kilograms of

  cocaine, as well as lesser amounts, could be concealed and flown on a Lear Jet . . . .” Id. at 3.

         On August 16, 2012, the Court held an evidentiary hearing pursuant to Daubert v. Merrell

  Dow Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993), on Defendant Rowinsky’s Motion. During

  the evidentiary hearing, Defendants conceded the qualifications of Morrisey to testify as an expert

  in the area of money laundering.2 Therefore, Morrisey’s testimony focused on her methodology,

  which she explained in detail during the hearing. Based on her experience and knowledge of

  generally accepted terms and concepts used in the field of money laundering, Morrisey identified

  three steps of the money-laundering process: (1) placement of the ill-gotten gains into the banking

  system; (2) layering, sometimes referred to as the “shell game” stage; and (3) integration, where the

  money is converted into a form to make it appear legitimate. Besides further elaborating on these



         2
           Morrisey’s curriculum vitae describes her as “[a]ward winning Certified Anti-Money
  Laundering Specialist and Investigator with 26 years federal law enforcement experience[;]
  [s]enior advisor to top financial executives and government leaders worldwide to provide
  intelligence and guidance in fighting sophisticated international fraud and other financial crimes
  perpetrated by transnational criminal organizations.” D.E. 1292 at 18 (emphasis in original). It
  further identifies her as a “[n]ationally recognized subject matter expert . . . in financial
  investigations and money laundering [who is] frequently enlisted by Headquarters to review
  and provide input to pending legislation, prepare Congressional testimony, brief Congressional
  sub-committee members, and represent ICE in foreign and domestic meetings . . . and instruct
  personnel on money laundering worldwide.” Id. (emphasis in original). She has served as a
  special agent for United States Immigration and Customs Enforcement since 1988 and as a
  supervisory special agent/group supervisor for Homeland Security Investigations since 2002.

                                                   -3-
Case 1:12-cr-20157-KMM Document 180 Entered on FLSD Docket 08/21/2012 Page 4 of 6




  three stages of money laundering, Morissey testified regarding triggers for the required filing of

  currency transaction reports and currency and monetary instrument reports. She then reviewed

  summaries of financial transactions that occurred in the bank accounts used by Defendants in this

  case, pointing out what she viewed as transactions reflecting each of the three steps of money

  laundering.

         At the end of the August 16, 2012, hearing, the Court announced that it was denying

  Defendant Rowinsky’s Motion in Limine seeking to exclude Morrisey’s testimony. See also D.E.

  178. In addition, the Court explained that based on the Government’s Notice and the detail of

  Morrisey’s testimony during the Daubert hearing, it was likewise denying Defendant Cecilia

  Cordoba’s Corrected Motion to Strike as it pertains to Morrisey, finding that through the

  combination of the Government’s Disclosure [D.E. 121], the Government’s Response to Cecilia

  Cordoba’s Motion to Strike Notice Concerning Expert Witnesses [D.E. 131], and Morrisey’s

  testimony at the August 16, 2012, hearing, the Government had satisfied its notice obligations under

  Rule 16(a)(1)(G), Fed. R. Crim. P., regarding Morrisey’s testimony. See, e.g., United States v.

  Martinez, 476 F.3d 961, 967 (D.C. Cir. 2007).3

         With regard to Grillo, the Government specified that it would set forth in writing all opinions

  to which he was expected to testify. Accordingly, on August 21, 2012, the Government filed its



         3
         Although Rule 16(a)(1)(G), Fed. R. Crim. P., speaks in terms of a “written summary,”
  the Court finds that the notice provided by a proposed expert’s Daubert hearing testimony,
  complete with the opportunity for cross-examination, nonetheless can be considered in
  determining whether an expert disclosure satisfies the requirements of Rule 16(a)(1)(G). First,
  Defendants can obtain a written transcript of the expert’s testimony. Second, the testimony
  accomplishes the purposes of Rule 16(a)(1)(G)’s notice requirements, which the Advisory
  Committee Notes to the 1993 Amendments to Rule 16 suggest suffice to comply with the rule
  (“The amendments are not intended to create unreasonable procedural hurdles.”).

                                                   -4-
Case 1:12-cr-20157-KMM Document 180 Entered on FLSD Docket 08/21/2012 Page 5 of 6




  Supplemental Disclosure of Expert Witness [D.E. 169]. In its Supplemental Disclosure, the

  Government states, “Mr. Grillo will testify that contraband can safely and discretely [be] stored and

  unloaded within certain places in the airplane, including, the fuselage tank, the dash board, the black

  box, and behind the seats in the panel between the seats and the fuselage tank.” Id.

          Rule 16(a)(1)(G), Fed. R. Crim. P., requires the Government to provide a “written summary”

  that describes the expert witness’s “opinions, the bases and reasons for those opinions, and the

  witness’s qualifications.” The Eleventh Circuit has concluded that this rule “makes clear that the

  governmetn is required to provide a criminal defendant with . . . both [the] witness’s ultimate

  opinion and ‘the bases and reasons for those opinions,’ including ‘not only written and oral reports,

  tests, reports, and investigations, but any information that might be recognized as a legitimate basis

  for an opinion . . . .” United States v. Holland, 223 F. App’x 891, 894 (11th Cir. 2007) (quoting Fed.

  R. Crim. P. 16(a)(1)(G), Fed. R. Grim. P. 16, Advisory Comm. Notes, 1993 Amendment).

          The current status of the Government’s disclosure as it relates to Grillo does not satisfy this

  standard. Although the Government has revealed Grillo’s opinions concerning the locations where

  contraband may safely and discretely be stored and unloaded within a Lear jet, the Government has

  not specified Grillo’s opinions as they relate to the distances that a Lear jet may fly while loaded with

  varying weights of contraband.4 Nor has the Government identified the bases and reasons for

  Grillo’s opinions. Consequently, the Government’s disclosures as they relate to Grillo do not satisfy

  Rule 16(a)(1)(G)’s requirements as the Eleventh Circuit has construed them.

          Therefore, it is hereby ORDERED and ADJUDGED that the Government shall supplement



          4
           The Government did discuss this issue somewhat during the August 16, 2012, hearing,
  but it did not set forth each opinion that it anticipates Grillo will offer.

                                                    -5-
Case 1:12-cr-20157-KMM Document 180 Entered on FLSD Docket 08/21/2012 Page 6 of 6




  its disclosure as it relates to Grillo by identifying all opinions to which Grillo will testify, as well as

  the bases and reasons for each opinion. The Government shall provide this supplemental disclosure

  to Defendants by September 4, 2012.

          It is further ORDERED and ADJUDGED that Defendant Cecilia Cordoba’s Corrected

  Motion to Strike Notice Concerning Expert Witnesses [D.E. 123], joined by Defendant Ramon

  Acosta [D.E. 148], is otherwise DENIED.

          DONE and ORDERED at Fort Lauderdale, Florida, this 21st day of August 2012.




                                                           ROBIN S. ROSENBAUM
                                                           UNITED STATES DISTRICT JUDGE

  copies: Counsel of Record




                                                     -6-
